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United States District Court
for the
Southern District of Florida

Equal Employment Opportunity
Commission, Plaintiff,

&

Civil Action No. 19-23131-Civ-

Plaintiff Intervenor, Scola

)
)
Louise Davidson-Schmich, )
)
Vv. )

)

)

University of Miami, Defendant.

Verdict Form

COUNT I: EQUAL PAY ACT CLAIM
Do you find from a preponderance of the evidence:

Ls That Dr. Davidson-Schmich and Dr. Koger have been employed
by the University of Miami in jobs requiring substantially equal skill, effort

and responsibility?

_——
Answer Yes or No: EHS

[IF YOUR ANSWER IS “NO,” THIS ENDS YOUR DELIBERATIONS AS TO CounrT I
(EQUAL PAY ACT CLAIM), AND YOU SHOULD GO TO QUESTION 7.
IF YOUR ANSWER IS “YES,” GO TO THE NEXT QUESTION. |

Dn That the two jobs are performed under similar working

conditions?

Answer Yes or No: / E G

[IF YOUR ANSWER IS “NO,” THIS ENDS YOUR DELIBERATIONS AS TO COUNT I
(EQUAL Pay ACT CLAIM), AND YOU SHOULD GO TO QUESTION 7.
IF YOUR ANSWER IS “YES,” GO TO THE NEXT QUESTION. |

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3 That Dr. Davidson-Schmich was paid a lower wage than

Dr. Koger for doing equal work?

Answer Yes or No:_ INO

[IF YOUR ANSWER IS “NO,” THIS ENDS YOUR DELIBERATIONS AS TO COUNT I

(EQUAL Pay ACT CLAIM), AND YOU SHOULD GO TO QUESTION 7.

IF YOUR ANSWER IS “YES,” GO TO THE NEXT QUESTION. |

4. That as to the affirmative defense upon which the University of
Miami relies, sex played no part in the differential in pay between the Dr.
Davidson-Schmich and Dr. Koger but was the result of one or more of the
following factors: market forces, experience, reputation, impact in their
respective fields and/or job performance?

Answer Yes or No:

[IF YOUR ANSWER IS “YES,” THIS ENDS YOUR DELIBERATIONS AS TO COUNT I
(EQUAL Pay ACT CLAIM), AND YOU SHOULD GO TO QUESTION 7.
IF YOUR ANSWER IS “NO,” GO TO THE NEXT QUESTION. |
5. That the University of Miami either knew or showed reckless
y
disregard for whether its conduct was prohibited by the Equal Pay Act?

Answer Yes or No:

[GO TO THE NEXT QUESTION. |
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6. That Dr. Davidson-Schmich should be awarded damages for
lost compensation?
Answer Yes or No:
If your answer is “Yes,” in what amount? $

[GO TO THE NEXT QUESTION ON THE NEXT PAGE. ]
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COUNT II: TITLE VII CLAIM
Do you find from a preponderance of the evidence:

7. That Dr. Davidson-Schmich’s sex was a motivating factor that
prompted the University of Miami to pay her less money than Dr. Koger?

Answer Yes or No:_NLO
[IF YOUR ANSWER IS “NO,” THIS ENDS YOUR DELIBERATIONS, AND YOUR
FOREPERSON SHOULD SIGN AND DATE THE LAST PAGE OF THIS VERDICT
FORM. IF YOUR ANSWER IS “YES,” GO TO THE NEXT QUESTION. |
8. That Dr. Davidson-Schmich should be awarded backpay to
compensate for a net loss of wages and benefits to the date of your verdict?
Answer Yes or No:
If your answer is “Yes,” in what amount? $
9, That Dr. Davidson-Schmich should be awarded damages to
compensate for emotional pain and mental anguish?
Answer Yes or No:
If your answer is “Yes,” in what amount? $
10. That the University of Miami acted with either malice or
reckless indifference to Dr. Davidson-Schmich’s federally protected rights

under Title VII?

Answer Yes or No:

 

 

SO SAY WE ALL Dated: March 41, 2022.
TDs
rR oreperson Signature —_ Foreperson Juror Number
